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 4

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 6

 7                                 IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                            OAKLAND DIVISION
10

11    UNITED STATES OF AMERICA,                               Case No.: 4:20-CR-00266-JST

12                    Plaintiff,                              DECLARATION OF HANNI M.
                                                              FAKHOURY IN SUPPORT OF EX
13            v.                                              PARTE APPLICATION FOR ISSUANCE
                                                              OF RULE 17(C) SUBPOENA DUCES
14    MICHAEL ROTHENBERG,                                     TECUM
15                    Defendant.

16

17         I, Hanni M. Fakhoury, hereby declare as follows:
18         1. I am an attorney licensed in the state of California. I was assigned to represent Mr.
19             Rothenberg in this case on January 21, 2021, after the Federal Public Defender’s Office had
20             previously been appointed to represent him on November 16, 2020. When I left the Federal
21             Public Defender’s Office to go into private practice, I continued to represent Mr.
22             Rothenberg under the Criminal Justice Act (“CJA”) and have represented him continually
23             for approximately three and a half years, including through two jury trials.
24         2. On November 16, 2023, a jury found Mr. Rothenberg guilty on counts 3-23 of the
25             indictment which charged him with a variety of financial crimes. Sentencing is currently set
26             for September 13, 2024.
27         3. Based upon the information known to me and my work in Mr. Rothenberg’s case over the
28             last three and a half years, it is my professional judgment and opinion that the production of

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 1             records by Rothenberg Ventures (“RV”) is necessary for a full and fair sentencing (and
 2             later, a restitution) hearing for Mr. Rothenberg. Generally, I seek records concerning
 3             distributions made to RV investors to date, the present value of the investments held by RV,
 4             and internal RV records concerning a financial audit of the funds that calculated different
 5             “loss” amounts than that calculated by government expert Gerald Fujimoto at trial. A more
 6             detailed description of the records I am requesting are included as Attachment A to the
 7             proposed subpoena duces tecum.
 8         4. The standard for a subpoena duces tecum is set forth in United States v. Nixon, 418 U.S.
 9             683 (1974), which explains a subpoena is appropriate if (1) the documents are “evidentiary
10             and relevant;” (2) the documents “are not otherwise procurable reasonably in advance of
11             trial by exercise of due diligence; (3) the party seeking the documents “cannot properly
12             prepare for trial without such production and inspection in advance of trial and the failure to
13             obtain such inspection may tend unreasonably to delay the trial;” and (4) the application is
14             made in good faith and is not intended as a general ‘fishing expedition.’” Nixon, 418 U.S. at
15             699-700.
16         5. Although Nixon was concerned with subpoenas in advance of trial, the Ninth Circuit has
17             held that “a ‘pretrial’ criminal subpoena can be issued for a sentencing proceeding” and
18             when “a pre-sentencing subpoena is sought, the trial court must apply the Nixon factors in
19             the specific context of sentencing.” United States v. Krane, 625 F.3d 568, 574 (9th Cir.
20             2010).
21         6. I believe this subpoena request meets the Nixon and Krane standards.
22         7. The requested documents are evidentiary and relevant.
23                 a. A major issue at the sentencing hearing will be the “loss” amount, which will
24                      significantly impact the U.S. Sentencing Guidelines (“U.S.S.G.”) calculation.
25                      i. Under the Sentencing Guidelines, “‘actual loss’ means the reasonably
26                         foreseeable pecuniary harm that resulted from the offense.” U.S.S.G. § 2B1.1
27                         app. n. 3(A)(i).
28

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 1                 b. The Guidelines also explain that a defendant is entitled to “credits against loss.”
 2                     U.S.S.G. § 2B1.1 app. n. 3(E). As a general matter, the “Sentencing Guidelines ‘call
 3                     for the court to determine the net detriment to the victim, rather than the gross
 4                     amount of money that changes hands.’” United States v. Brownell, 495 F.3d 459,
 5                     463 (7th Cir. 2007) (quoting United States v. Hausmann, 345 F.3d 952, 960 (7th
 6                     Cir. 2003)). Thus, it is “the rule that the victim’s loss should be offset by the
 7                     victim’s benefit.” United States v. West Coast Aluminum Heat Treating Co., 265
 8                     F.3d 986, 992 (9th Cir. 2001).
 9                     i. Application Note 3(E)(i) explains “loss shall be reduced” by “The money
10                         returned, and the fair market value of the property returned and the services
11                         rendered, by the defendant or other persons acting jointly with the defendant, to
12                         the victim before the offense was detected.” U.S.S.G. § 2B1.1 app. n. 3(E)(i)
13                         (emphasis added).
14                     ii. Application note 3(E)(ii) explains “in a case involving collateral pledged or
15                         otherwise provided by the defendant,” loss “shall be reduced” by “the amount
16                         the victim has recovered at the time of sentencing from disposition of the
17                         collateral, or if the collateral has not been disposed of by that time, the fair
18                         market value of the collateral at the time of sentencing.”
19                    iii. In Ponzi and other investment fraud schemes, the commentary states “loss shall
20                         not be reduced by the money or the value of the property transferred to any
21                         individual investor in the scheme in excess of that investor’s principal
22                         investment (i.e., the gain to an individual investor in the scheme shall not be
23                         used to offset the loss to another individual investor in the scheme).” U.S.S.G. §
24                         2B1.1 app. n. 3(F)(iv). While, at first blush, it may appear no offset is warranted
25                         in those kinds of cases, the Sixth Circuit has explained “the language of this note
26                         implies that courts are expected to reduce loss figures by the sums returned to
27                         investor victims,” and “the fact that the Application Notes limit deductions from
28                         loss figures to no more than the sums originally invested implies, quite strongly,

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 1                         that the loss figures are to be reduced in the first place.” United States v.
 2                         Snelling, 768 F.3d 509, 513 (6th Cir. 2014); see also United States v. Laurienti,
 3                         611 F.3d 530, 557 (9th Cir. 2010) (particular victim’s “gains should not be used
 4                         to offset the losses to other victims” because “it is the [particular victim’s] net
 5                         loss that matters”).
 6                    iv. Finally, in securities fraud cases, the Ninth Circuit has made clear it is error for a
 7                         district court to calculate “the actual loss as the amount that the victims paid to
 8                         buy the stock, with no offset for the present-day value of the stock” when “the
 9                         underlying company has intrinsic value.” Laurienti, 611 F.3d at 558; see also
10                         United States v. Zolp, 479 F.3d 715, 719 (9th Cir. 2007) (“because the stock
11                         continues to have residual value after the fraudulent scheme is revealed, the
12                         court may not assume that the loss inflicted equals the pre-disclosure value of the
13                         stock; rather, the court must disentangle the underlying value of the stock,
14                         inflation of that value due to the fraud, and either inflation or deflation of that
15                         value due to unrelated causes”); United States v. Holmes, 5:18-CR-00258-EJD,
16                         2023 WL 149108, at *5 (N.D. Cal. Jan. 10, 2023) (holding “total investment
17                         amount was subject to a reduction based on the inherent value of Theranos
18                         stock”).
19                 c. Turning to the facts here, at the trial many investors testified they received more
20                     than their original RV investment amount through distributions.
21                     i. Michael Antonov initially testified that of his $1.25 million investment, he
22                         “probably [received] around 2 million total;” Reporter’s Transcript (“RT”) Vol.
23                         13, 2557:17-19; he later elaborated in an email sent to Assistant U.S. Attorney
24                         Nicholas Walsh that he “received back $2.78M, and there is potentially ~$600K
25                         residual value left.” US-002818; see also RT Vol. 14, 2599:6-11.
26                     ii. Praveen Gupta testified that HTC made “somewhere between 1.5 to 2X” of its
27                         $2 million investment. RT Vol. 11, 2162:4-5.
28

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 1                    iii. Theo Melas-Kyriazi testified concerning GHF’s investment in the 2015 Fund,
 2                         “so far we’ve seen $1.1 million for the $1 million that we invested over the last
 3                         eight years.” RT Vol. 12, 2278:2-3.
 4                    iv. Sangwoo Lee (KIP), David Chu (CY Capital) and Natala Menezes all testified
 5                         they received distributions from their investments but could not recall the exact
 6                         amounts. RT Vol. 13, 2482:13-17; RT Vol. 15, 2944:5-9; RT Vol. 16, 2983:7-
 7                         13.
 8                     v. Amy Huang testified she could not recall ARCHina receiving any distributions
 9                         from the 2016 Fund and did not know the current value of ARCHina’s
10                         investment in the 2016 Fund. RT Vol. 14, 2691:23-2692:3. Nonetheless,
11                         government expert witness Gerald Fujimoto’s report indicates a significant
12                         portion of ARCHina’s investment was returned. Demonstrative at Slide 173.
13                 d. The amount of money investors have received to date from their RV investments, as
14                     well as the current value of their RV holdings, offsets any claimed “loss” amount
15                     under the U.S. Sentencing Guidelines, thus making these records evidentiary and
16                     relevant.
17                 e. In addition, after the trial concluded, the government produced to me
18                     correspondence and an FBI 302 Report of Investigation detailing an FBI interview
19                     with Mr. Eppler on May 29, 2024 that presented different loss amounts and different
20                     theories of loss on the basis of an internal RV audit prepared by an outside forensic
21                     accounting firm. Critically, the internal audit referenced in the correspondence
22                     calculated a different “loss” amount than that calculated by government expert
23                     Gerald Fujimoto for trial. These records are thus also evidentiary and relevant to
24                     determining the “loss” amount for purposes of the Sentencing Guidelines and
25                     restitution.
26         8. The requested documents cannot be procured reasonably in advance of sentencing by the
27             exercise of due diligence.
28

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 1                 a. In 2018, Mr. Rothenberg resigned from RV and the firm is now managed by
 2                     Jefferson R. Eppler. Mr. Rothenberg does not have access to any RV financial
 3                     records since 2018, including the records sought in this subpoena.
 4                 b. On July 9, 2024, I sent a letter to the government asking it to produce the financial
 5                     records described above in connection with the sentencing hearing.
 6                     i. The government indicated to me it was not in possession of much of the material
 7                         I requested but that it would seek to obtain that information from Mr. Eppler.
 8                     ii. The government did direct me to some records it previously produced and
 9                         marked as trial exhibits, that it believed were responsive to my request. All of
10                         that material, however, predates 2018, the year Mr. Rothenberg surrendered
11                         control of RV to Mr. Eppler.
12                 c. Because the records are not currently in the possession of the government, but
13                     instead are in the possession of a third party, they cannot be produced without a
14                     subpoena.
15         9. Mr. Rothenberg cannot reasonably prepare for sentencing without production.
16                 a. As explained above, I believe these records are relevant to the loss amount in Mr.
17                     Rothenberg’s sentencing (and eventually, restitution) hearing, a figure that will play
18                     an outsized role in determining the advisory Guidelines range in this case. The
19                     failure to obtain these records prior to sentencing may unreasonably delay the
20                     sentencing and prejudice Mr. Rothenberg.
21         10. This application is made in good faith and is not intended to be a general fishing expedition.
22                 a. I have described as specifically as I can, based on the information available to me,
23                     the nature of the documents sought by this subpoena and why I believe the records
24                     are relevant.
25                 b. I have also tried to work with the government to obtain these records without
26                     resorting to requesting a subpoena. While the government has indicated it will try
27                     and obtain the records, to date I have not received any of the requested records.
28

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 1                     Because time is of the essence, and in an abundance of caution, I am therefore
 2                     seeking a subpoena for the records.
 3         11. I therefore request the Court issue a subpoena duces tecum compelling Rothenberg
 4             Ventures to produce the documents requested in the subpoena and attachment.
 5         12. Because Mr. Rothenberg is indigent and represented by Court appointed CJA counsel, I
 6             also request the Court order the costs of process, fees, and expenses paid as if the records
 7             were subpoenaed by the government. See Fed. R. Crim. P. 17(b).
 8

 9         I declare under penalty of perjury that the foregoing is true and correct to the best of my
10   knowledge.
11         Executed on July 22, 2024, in Clayton California.
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                                                                  Hanni M. Fakhoury
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